Case 10-60990-wlh     Doc 75   Filed 11/06/20 Entered 11/06/20 11:52:51   Desc Main
                               Document      Page 1 of 1
                                                              PLEASE TYPE OR PRINT



                 UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF GEORGIA

                       Request for Change of Address
           Bobby Manalcus Wilbanks and Kimberly Ann Wilbanks
Case Name: _____________________________________________________

          10-60990
Case No.: _______________ Chapter: 7_______

Change of Address for:
             ✔ Creditor ___ Attorney for Debtor ___ Attorney for Creditor___
     Debtor ___

Change for:
                                                             ✔
     Notices ONLY ___ Payments ONLY ___ Notices and Payments ___

EFFECTIVE DATE OF CHANGE:              11/6/2020
                                       ___________________

Name:                                  ______________________________________
Prior Address:                         943 Stone Lea Drive
                                       ______________________________________
                                       Oxford, Ga 30054
                                       ______________________________________
                                       ______________________________________

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New Address:                           426 Ellington Rd
                                       ______________________________________
                                       Oxford, Ga 30054
                                       ______________________________________
                                       ______________________________________


Change of Address Was Furnished By:                                        ✔
                                       Debtor_____ Creditor_____ Attorney _____

Date: _________
      11/6/2020                                      Karen Scott Greene
                                 Signature of Filer: _____________________________
                                                       678-377-1082
                                 Telephone Number: _________________________


                               IF FILED BY ATTORNEY

Attorney Name:                         ____________________________________
                                       Karen Scott Greene

Bar ID:                                632153
                                       ____________________________________
Address:                               PO Box 390322
                                       ____________________________________
                                       ____________________________________
                                       Snellville, GA 30039


Revised August 2012
